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                          EXHIBIT A-1
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                        UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO

OHIOANS AGAINST CORPORATE BAILOUTS, :                    Case No. 2:19-CV-4466
et al.,                                   :
                                          :              Judge Edmund A. Sargus
        Plaintiffs,                       :
                                          :              Magistrate Judge Kimberly A. Jolson
v.                                        :
                                          :
FRANK LAROSE, in his official capacity as :
Ohio Secretary of State, et al.,          :
                                          :
        Defendants.                       :


                       DECLARATION OF LEWIS GRANOFSKY



      Pursuant to 28 U.S.C. § 1746, I, Lewis Granofsky, hereby declare as follows:
      1. I am over 18 years of age and state based on personal knowledge and/or information
         received as follows.
      2. I am employed as a Partner with Field Works, a professional political and ballot issue
         canvassing firm.
      3. Field Works was engaged to conduct a public education campaign regarding Ohio
         House Bill 6 (“HB 6”), including at locations where a referendum petition on HB 6
         (“Referendum”) was being circulated.
      4. During the public education effort regarding HB 6, Field Works’ canvassers and field
         supervisors reported their activities to Field Works’ headquarters. These field reports
         included encounters with and observations of individuals circulating the HB 6
         referendum petition.
      5. The field reports were compiled and used to prepare a daily report on the HB 6 public
         education campaign.
      6. The attached synopsis of incidents involving HB 6 referendum petition circulators is
         based on Field Works’ daily reports of its public education campaign regarding HB 6.
      7. Based on my knowledge as a political canvassing and ballot issue professional,
         Advance Micro Targeting (“AMT”), which has been engaged to conduct the
         collection of signatures for the Referendum campaign, has limited experience
         qualifying initiatives to appear on statewide ballots, and a history in this respect
         which includes a high-profile failure to qualify a recall for the ballot in Nevada in
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         2018. A statewide referendum in Ohio is a massive undertaking, and a paid signature
         gathering program requires a firm with significant experience with statewide
         qualification.
      8. Based on reports from other people and knowledge of their efforts in the state of
         Florida, AMT relocated professional field staff to Florida to work on a separate ballot
         measure effort and did not return them to Ohio immediately when the referendum
         petition was ready to be circulated. Based on my professional experience, this
         indicates that AMT likely did not have the necessary resources to meet all its
         commitments, including the Referendum campaign. Additionally, it took four days to
         gather the 1000 valid required to resubmit their language, something that should have
         been accomplished in one day. This indicates a lack of planning, professionalism, and
         resource allocation. Three extra days to collect signatures can be critical on a drive
         like this.
      9. Based on reports and based on my own analysis of the Form 15 filings submitted, as
         well as tracking their recruitment efforts, AMT suffered from poor recruitment in the
         crucial initial stages of the campaign. Their advertising, outreach, and recruitment
         tactics were sub-par, and this undoubtedly contributed to their shortfall in signatures.
      10. Based on reports and indirect observations, it appears that the Referendum campaign
          management was late to realize that AMT was not equipped to handle campaign
          signature collection needs and did not begin substantial petitioner recruitment efforts
          until the last three or four weeks of the Referendum campaign. That effort was
          disorganized and appeared uncoordinated with several firms competing for petitioners
          and subcontractors within their own camp. Based on my professional experience, it
          should have been clear at a much earlier point in time that AMT could not
          successfully qualify the Referendum for the ballot on their own, and their outreach
          effort to bring in other contractors and petitioners should have started sooner and with
          more coordination.
      11. Based on reports, the petition circulators for the Referendum campaign have had to
          work under unfavorable conditions, including poor pay policies, disorganization,
          uncomfortable lodging, lack of rental vehicles, and generally poor management,
          leading to resignation of professional field staff.
             I declare under penalty of perjury that the foregoing is true and correct.
             Executed on this 21st day of October 2019.




                                                    ___________________________




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                       Incidents Reported by Field Works Educators
September 5, 2019
      Educators in Columbus reported an HB 6 petition circulator fail to witness a signature on
       the petition they were circulating.
September 10, 2019
      Educators in Toledo reported that an HB 6 circulator took the flyers from individuals who
       had spoken to the educators and threw them in a garbage can.
      Educators in Bowling Green were threatened by a circulator and their supervisor.
      Educators in Summit County reported that HB 6 circulators called the educators “scum”
       and cursed at them.
September 18, 2019
      An educator in Hamilton County reported that an HB 6 circulator physically accosted
       him, leading the educator to call the police.
September 19, 2019
      Educators in Cleveland reported that an HB 6 circulator was openly drinking alcohol
       while circulating the referendum petition and appeared to be intoxicated.
September 25, 2019
      Educators in London reported that an HB 6 circulator threatened them.
      Educators in Cleveland reported that an HB 6 circulator threatened to slap their phones
       out of their hands and was grabbing flyers from individuals who had spoken to the
       educators.
September 26, 2019
      Educators in Cleveland reported that they were verbally threatened by an HB 6 circulator.
      Educators on the campus of Columbus State Community College reported an HB 6
       circulator telling potential signers that they could include a fake address with their
       signature on the petition.
September 30, 2019
      Educators in Akron reported that an HB 6 circulation manager threatened to physically
       assault them.
      Educators in Akron also reported that HB 6 circulators were knowingly soliciting
       signatures from individuals who were not registered to vote in Ohio.
October 2, 2019
      Educators at a shopping center in Franklin County reported that the manager of a local
       business asked a group of HB 6 circulators to leave the premises. The circulators refused
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       and threatened the manager and the educators. The manager called the police which
       prompted the HB 6 circulators to leave while driving at an unsafe speed.
October 3, 2019
      Educators in Columbus reported that an HB 6 circulator slapped the pen out of the hand
       of an individual who had initially said he would sign the petition but then changed his
       mind. The educators reported that the circulator physically and aggressively confronted
       the individual and backed off only after realizing that the educators were recording the
       confrontation.
      Educators in Westerville reported that an HB 6 circulator told them that the educators
       would have been shot if they were in Detroit.
      Educators in Cincinnati reported that an HB 6 petition circulator offered to pay an
       individual to sign the petition.
October 5, 2019
      Educators in Columbus reported that an HB 6 circulator assaulted an educator and
       immediately fled the scene on a bus. The educator reported this incident to the police.
      Educators in Columbus reported two HB 6 circulators encouraging individuals to sign the
       HB 6 petition using fake names, including one circulator who encouraged individuals to
       sign multiple times with fake names.
October 7, 2019
      An educator in Cincinnati reported that an HB 6 circulator appeared to make a phone call
       asking someone to bring him a gun to “deal with” the educators.
October 8, 2019
      Educators reported a violent incident with HB 6 circulators in a restaurant parking lot on
       US Highway 42 near Cincinnati. The circulators approached the car of the educators
       shouting obscenities at them. According to the educators’ report one of the circulators
       slapped the phone out of the hand of one of the educators who was attempting to record
       the encounter while another circulator repeatedly kicked the drivers’ side door of the
       vehicle the educators were travelling in, leaving dents. The educators also reported the
       circulators spit at them. The educators reported the incident to the police.
      Educators in Columbus reported being physically assaulted, threatened and pursued by a
       person associated with HB 6 circulators. The educators called the police and filed a
       report.
      Educators in Franklin County reported that three HB 6 circulators surrounding their
       vehicle and banged on the windows while threatening them. The educators called the
       police and the circulators fled before the police arrived.
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October 9, 2019
      An educator in Akron reported that an HB 6 circulator drove dangerously, making
       multiple illegal turns while violating the speed limit.
      Educators in Cleveland reported that an HB 6 circulator admitted to them that she was
       permitting individuals to sign the referendum petition using false names.
      Educators in Columbus reported that an HB 6 circulator drove recklessly through a
       parking lot, nearly striking a pedestrian.
October 11, 2019
      Educators in Gahanna and Columbus reported being threatened by HB 6 circulators.
October 15, 2019
      Educators in Youngstown reported that an HB 6 circulator verbally threatened them with
       firearms.
October 16, 2019
      Educators reported being threatened by HB 6 circulators in Columbus.
October 19, 2019
      Educators reported that HB 6 petitions were being circulated which contained only the
       summary.
